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                                  UNITED STATES DISTRICT COURT

                                      DISTRICT OF CONNECTICUT

OPEN COMMUNITIES ALLIANCE and                        :
SOUTHCOAST FAIR HOUSING                              :
                                                     :
                 Plaintiffs,                         :
                                                     :
        v.                                           :        Civil No. 3:20CV1587 (JBA)
                                                     :
UNITED STATES DEPARTMENT                             :
OF HOUSING AND URBAN                                 :
DEVELOPMENT and MARCIA L.                            :
FUDGE, 1 in her official capacity as                 :
Secretary of Housing and                             :
Urban Development                                    :        April 15, 2021
                                                     :
                 Defendants.                         :


                                   DEFENDANTS’ STATUS REPORT

        Defendants, Secretary Marcia L. Fudge and the United States Department of Housing and

Urban Development (“HUD”), submit this status report, pursuant to the Court’s March 3, 2021

Order (ECF No. 32).

        On October 22, 2020, Plaintiffs filed the Complaint, which challenges Defendants’

issuance of a final rule, HUD’s Implementation of the Fair Housing Act’s Disparate Treatment

Standard, 85 Fed. Reg. 60288 (Sept. 24, 2020) (“2020 Rule”), under the Administrative

Procedure Act, 5 U.S.C. §§ 701, et seq. Plaintiffs served Defendants with the Complaint in the

instant action on October 26, 2020.

        On October 25, 2020, the United States District Court for the District of Massachusetts

stayed the effective date of the 2020 Rule. Mass. Fair Hous. Ctr. v. United States Dep’t of Hous.


1
 Pursuant to Fed. R. Civ. Pro. 25(d), the Secretary of HUD, Marcia L. Fudge, is automatically substituted for former
Acting Secretary Matt Ammon.
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& Urban Dev., No. CV 20-11765-MGM, 2020 WL 6390143 (D. Mass. Oct. 25, 2020). On

December 23, 2020, the Defendants filed a Notice of Appeal of that decision; however, on

February 9, 2021, Defendants filed a motion to voluntarily dismiss their appeal and do not seek

to lift the stay in the Massachusetts court during the pendency of that case.

       On January 26, 2021, President Biden issued a Presidential Memorandum that instructed

that HUD

       shall also, as soon as practicable, take all steps necessary to examine the effects of
       the September 24, 2020, rule entitled “HUD’s Implementation of the Fair
       Housing Act’s Disparate Impact Standard” (codified at part 100 of title 24, Code
       of Federal Regulations), including the effect that amending the February 15, 2013,
       rule entitled “Implementation of the Fair Housing Act’s Discriminatory Effects
       Standard” has had on HUD’s statutory duty to ensure compliance with the Fair
       Housing Act. Based on that examination, the Secretary shall take any necessary
       steps, as appropriate and consistent with applicable law, to implement the Fair
       Housing Act’s requirements that HUD administer its programs in a manner that
       affirmatively furthers fair housing and HUD’s overall duty to administer the Act
       (42 U.S.C. 3608(a)) including by preventing practices with an unjustified
       discriminatory effect.

Redressing Our Nation’s and the Federal Government’s History of Discriminatory Housing

Practices and Policies, 86 FR 7487 (published Jan. 29, 2021).

       Pursuant to the President’s directive, HUD began actively examining the discriminatory

effects rules. In light of that examination, on February 10, 2021, the Defendants requested that

the Court stay this case for 60 days. ECF No. 32. In a Minute Entry on March 3, 2021, the

Court granted the Defendants’ request and stayed this case until April 15, 2021.

       On April 12, 2021, HUD sent to the Office of Management and Budget a draft proposed

rule for inter-agency review. See https://www.reginfo.gov/public/do/eoDetails?rrid=162113. In

light of HUD’s recent action with respect to the rule at issue in this case and to allow for the

continuation of the inter-agency review process, the Defendants respectfully request a
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continuation of the stay in this case for 90 days, until July 14, 2021, on which date the

Defendants propose to file another status report, updating the Court on the status of the proposed

rule and proposing any next steps as appropriate.

       This is Defendants’ first requested extension of the stay. Defendants conferred with

Plaintiffs about this motion pursuant to D. Conn. L. Civ. R. 7(b)(2). Plaintiffs consent to a 90-

day stay.



                                                      Respectfully submitted,

                                                      MICHAEL D. GRANSTON
                                                      Deputy Assistant Attorney General

                                                      LESLEY FARBY
                                                      Assistant Branch Director

                                                      /s/ Brian C. Rosen-Shaud_________
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